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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,     )        CR. NO. 06-00079 DAE
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
NAEEM J. WILLIAMS,            )
                              )
          Defendant.          )
_____________________________ )


      ORDER DENYING DEFENDANT NAEEM J. WILLIAMS’ MOTION FOR
  RECONSIDERATION OF ORDER ISSUED ON FEBRUARY 13, 2007 GRANTING
   IN PART AND DENYING IN PART MOTIONS TO SEAL ALL OR PORTIONS
   OF DEFENDANT DELILAH S. WILLIAMS’ PLEA AGREEMENT [DOC. 224]

          Before the Court is Defendant Naeem J. Williams’

(“Mr. Williams”) Motion for Reconsideration of Order Issued on

February 13, 2007 Granting in Part and Denying in Part Motions to

Seal All or Portions of Defendant Delilah S. Williams’ Plea

Agreement [Doc. 224] (“Motion for Reconsideration”), filed

February 22, 2007.    Gannett Pacific Corporation, doing business

as the Honolulu Advertiser (“the Advertiser”), filed a memorandum

in opposition on March 5, 2007 and the United States of America

(“the Government”) filed a response to the Motion for

Reconsideration on March 9, 2007.      The Court finds this matter

suitable for disposition without a hearing pursuant to Rule

7.2(d) of the Local Rules of Practice of the United States

District Court for the District of Hawai`i (“Local Rules”).

After careful consideration of the Motion for Reconsideration,

supporting and opposing memoranda, and the relevant case law,
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Mr. Williams’ Motion for Reconsideration is HEREBY DENIED for the

reasons set forth below.

                               BACKGROUND

          The parties and the Court are familiar with the factual

and procedural background in this case.       This Court will

therefore only address the events that are relevant to the

instant Motion for Reconsideration.

          On October 12, 2006, the grand jury issued a four-count

First Superceding Indictment against Mr. Williams and Delilah S.

Williams (“Mrs. Williams”).     On October 26, 2006, the Government

filed its amended notice its intent to seek the death penalty

against Mr. Williams.    Mrs. Williams subsequently reached a plea

agreement with the Government.

          At a December 6, 2006 hearing, Mrs. Williams withdrew

her prior plea of not guilty and entered a plea of guilty as to

Count 2 of the First Superseding Indictment, charging her with

first-degree felony murder.     This Court temporarily filed the

Memorandum of Plea Agreement under seal and instructed the

parties to file a redacted version and to file any motions to

seal the plea agreement by December 13, 2006.         The following

motions were all filed on December 13, 2006: the Government’s

Motion to Keep Subparagraphs 8(e) through 8(t) of Defendant

Delilah Williams’s Plea Agreement Filed under Seal;

Mrs. Williams’ Motion to Temporarily Seal Paragraph 8 of Her Plea


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Agreement; and Mr. Williams’ Motion to Maintain Paragraph 8 of

Delilah Williams’ Plea Agreement under Seal (collectively

“Motions to Seal”).     The district judge accepted Mrs. Williams’

guilty plea on December 21, 2006.      The district judge has a set a

hearing regarding Mrs. Williams’ plea agreement for July 5, 2007.

Mr. Williams’ trial is currently set for October 16, 2007.

             On February 13, 2007, this Court issued its Order

Granting in Part and Denying in Part Motions to Seal All or

Portions of Defendant Delilah S. Williams’ Plea Agreement

(“Order”).     This Court ruled as follows:

                  A.   The Government shall file the contents
             of subparagraphs 8(a) through 8(c), by
             February 24, 2007, at 9:30 a.m.
                  B.   The remaining portions of paragraph 8
             shall remain under seal until the district judge
             accepts Mrs. Williams’ plea agreement.
                  C.   Once the district judge accepts
             Mrs. Williams’ plea agreement, the Government
             shall file a redacted version of the plea
             agreement as described above within five minutes
             of this acceptance.
                  D.   Once Mrs. Williams takes the stand to
             testify at Mr. Williams’ trial, the Government
             shall file an unredacted version of Mrs. Williams’
             plea agreement no later than sixty minutes after
             she commences her testimony. If Mrs. Williams
             does not testify at Mr. Williams’ trial, i.e. if
             he pleads guilty and proceeds directly to the
             penalty phase, the Government shall file the
             unredacted version of Mrs. Williams’ plea
             agreement within thirty minutes after
             Mr. Williams’ plea is accepted by the district
             judge.
                  E.   If the district judge does not accept
             Mrs. Williams’ plea agreement and she elects to go
             to trial, the remaining portions of paragraph 8
             shall remain under seal until the conclusion of
             Mrs. Williams’ trial. If Mrs. Williams’ trial

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          concludes before Mr. Williams’ trial, the
          procedures in paragraphs C and D shall apply.

[Order at 25-26.]

          Mr. Williams seeks reconsideration of the Order on the

ground that it contains manifest errors of law.         He argues that

the Order is premature insofar as it is based on events that may

happen and rulings that the district judge may make in the

future.   He also argues that the Order does not address all of

the potential issues that may arise.      As an example, Mr. Williams

cites the issue whether the district judge would authorize the

unsealing of Mrs. Williams’ unredacted plea agreement if she does

not testify at his trial.      Mr. Williams argues that this Court

does not know how the district judge would rule on certain

evidentiary issues with regard to the plea agreement in that

circumstance.   If Mr. Williams pleads guilty and is still subject

to a penalty trial, the district judge may not have the

opportunity to modify the Order before the release of the

unredacted plea agreement.      Mr. Williams also argues that the

Order does not address the fact that some of the allegations in

Mrs. Williams’ plea agreement may be proven to be incorrect and

that, even if she does testify at his trial, the district judge

may conclude that portions of her plea agreement are

inadmissable.   Further, Mr. Williams asserts that the Order

erroneously gives more protection to Mrs. Williams’ right to a

fair trial than to his right to a fair trial.

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          Mr. Williams argues that this Court should modify the

Order so that the district court does not release the unredacted

plea agreement until after Mrs. Williams testifies.            In the

alternative, he argues that the Court should modify the Order to

reflect that future developments in the case may require

reconsideration of the Order.

          In its memorandum in opposition, the Advertiser argues

that the Order is not based on a manifest error of law.            The

Advertiser contends that Mr. Williams merely raises hypothetical

situations which would raise additional concerns about the

release of Mrs. Williams’ plea agreement and that these do not

rise to the level of manifest errors of law.

          In its response to the Motion for Reconsideration, the

Government states that it agrees with Mr. Williams that, in the

event that he pleads guilty and the district judge rules

Mrs. Williams’ plea agreement inadmissible in his penalty trial,

the release of Mrs. Williams’ unredacted plea agreement would be

fundamentally unfair to him.     In that case, the Government

contends that the district court should not release her

unredacted plea agreement until after the completion of the

penalty trial.   The Government, however, argues that, if her plea

agreement is admissible at the penalty trial, the district court

should release it almost immediately after Mr. Williams pleads

guilty.   The Government proposes that this Court reserve ruling


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on this issue until after the district judge decides whether or

not to accept Mrs. Williams’ plea agreement.        If the district

judge accepts it, the parties can then litigate the admissibility

of her plea agreement in the event that Mr. Williams pleads

guilty.

                               DISCUSSION

            The district court has identified three bases for

reconsideration of interlocutory orders:

                 (a) Discovery of new material facts not
            previously available;
                 (b) Intervening change in law;
                 (c) Manifest error of law or fact.

Local Rule LR60.1.    Local Rule 60.1 also applies to motions for

reconsideration in criminal cases.       See United States v. Shi, 396

F. Supp. 2d 1132, 1137 (D. Hawai`i 2003) (citing Local Rule

CrimLR12.3 (stating that “[t]he local rules pertaining to civil

motions are applicable to motions in criminal cases”)).            This

Court filed the Order on February 13, 2007, and Mr. Williams

filed the Motion for Reconsideration on February 22, 2007.             Thus,

Mr. Williams’ Motion for Reconsideration, which alleges manifest

errors of law, was timely filed.       See Local Rule LR60.1 (“Motions

asserted under Subsection (c) of this rule must be filed not more

than ten (10) business days after the court’s written order is

filed.”).

            Mr. Williams first argues that the Order was premature

because its addressed circumstances that were not before this

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Court.   It was necessary for this Court to do so because the

Advertiser had filed a motion to intervene in this case to argue

that the public has a contemporaneous right of access to criminal

proceedings as they occur and to judicial records, including plea

agreements, as they are filed.      This Court ultimately denied the

motion to intervene but allowed the Advertiser to file an

opposition to the Motions to Seal as an interested party.             For

the sake of judicial economy, this Court fashioned the Order to

address the terms of the plea agreement’s release in the event of

various possible events in this case.         Mr. Williams apparently

disagrees with this Court’s decision to do so and would have the

Court revisit the public access issue after each event

transpired.     The fact that a party disagrees with a court’s order

does not establish a manifest error of law.         See White v.

Sabatino, 424 F. Supp. 2d 1271, 1274 (D. Hawai`i 2006) (“Mere

disagreement with a previous order is an insufficient basis for

reconsideration.” (citing Leong v. Hilton Hotels Corp., 689 F.

Supp. 1572 (D. Haw. 1988))).

           Mr. Williams’ primary argument is that the Order

contains manifest errors of law because it does not adequately

account for all of the future events and rulings that may occur

in this case.     He is correct.   This Court does not possess the

prophetic abilities of Cassandra.       The Order, however, does

account for various procedural outcomes that may arise.             Further,


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in the event that a situation arises which is not addressed in

the Order, either this Court or the district judge can issue a

stay of the Order so that the parties can address the matter and

this Court or the district judge can determine whether the

release of the unredacted plea agreement is appropriate under

those circumstances.     Insofar as the Order does account for

future events and rulings, Mr. Williams’ Motion for

Reconsideration merely disagrees with the manner in which the

Order does so.    This does not constitute a manifest error of law.

          Finally, Mr. Williams argues that the Order contains

manifest errors of law because it gives greater protection to

Mrs. Williams’ right to a fair trial than it does to his right to

a fair trial.     Mr. Williams presumably makes this argument

because this Court ordered different terms for the release of

Mrs. Williams’ plea agreement if both she and Mr. Williams go to

trial than if only Mr. Williams goes to trial.         These

differences, however, merely account for the fact that the plea

agreement contains Mrs. Williams’ statements and there is greater

likelihood of prejudice if the jurors in her trial know about her

statements, which the Government would be prohibited from using

against her.     The Order does not give Mrs. Williams’ right to a

fair trial greater protection than Mr. Williams’ right to a fair

trial.   Mr. Williams merely disagrees with this Court’s rulings

concerning the terms of the release of Mrs. Williams’ unredacted


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plea agreement and, as stated previously, mere disagreement with

a court’s order does not constitute a manifest error of law.

          This Court therefore finds that reconsideration of the

Order is not warranted.

                               CONCLUSION

          On the basis of the foregoing, Mr. Williams’ Motion for

Reconsideration of Order Issued on February 13, 2007 Granting in

Part and Denying in Part Motions to Seal All or Portions of

Defendant Delilah S. Williams’ Plea Agreement [Doc. 224], filed

February 22, 2007, is HEREBY DENIED.

          IT IS SO ORDERED.

          DATED AT HONOLULU, HAWAI`I, April 30, 2007.



                                  /S/ Leslie E. Kobayashi
                                 Leslie E. Kobayashi
                                 United States Magistrate Judge




U.S.A. V. NAEEM WILLIAMS; CR. NO. 06-00079 DAE-LEK; ORDER DENYING
DEFENDANT NAEEM J. WILLIAMS’ MOTION FOR RECONSIDERATION OF ORDER
ISSUED ON FEBRUARY 13, 2007 GRANTING IN PART AND DENYING IN PART
MOTIONS TO SEAL ALL OR PORTIONS OF DEFENDANT DELILAH S. WILLIAMS’
PLEA AGREEMENT [DOC 224]




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